         Case 4:23-mj-00088-CLR Document 1-1 Filed 09/28/23 Page 1 of 2


                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 23-CR-20377-BLOOM


UNITED STATES OF AMERICA

vs.

JAMES TUCKER KORNHAUSER,

                      Defendant.
                                        /

                GOVERNMENT’S MOTION TO UNSEAL INDICTMENT

       The United States, by and through the undersigned Assistant United States Attorney, and

files this motion to unseal the indictment against defendant JAMES TUCKER KORNHAUSER

and states the following:

               1.     On September 20, 2023, a Grand Jury returned an indictment charging the

defendant with Possession of Child Pornography, in violation of Title 18, United States Code,

Sections 2252(a)(4)(B) and (b)(2).

               2.     The indictment was ordered sealed until the arrest of the defendant. On

September 28, 2023, the defendant was arrested in the Southern District of Georgia.

       WHEREFORE the United States respectfully requests that the indictment in this matter be

UNSEALED by the Court.

                                                   Respectfully submitted,

                                                   MARKENZY LAPOINTE
                                                   UNITED STATES ATTORNEY

                                            By:    /s/ Nardia Haye
                                                   Nardia Haye
                                                   Assistant United States Attorney
                                                   Court ID No. A5502738
                                                   99 NE 4th Street, 6th Floor
                                                   Miami, Florida 33132
                                                   Tel: (305) 961-9326
                                                   Email: Nardia.Haye@usdoj.gov
          Case 4:23-mj-00088-CLR Document 1-1 Filed 09/28/23 Page 2 of 2


                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 23-CR-20377-BLOOM


UNITED STATES OF AMERICA

vs.

JAMES TUCKER KORNHAUSER,

                      Defendant.
                                         /

                            ORDER TO UNSEAL INDICTMENT

        THIS CAUSE having come on before the Court on the motion of the government to unseal

the indictment, and the Court being fully advised in the premises and finding good cause therefore,

it is hereby:

        ORDERED AND ADJUDGED that the motion is GRANTED. The Clerk of Court is

ordered to unseal the indictment in the above-captioned case.

        DONE AND ORDERED in chambers at Miami, Florida this 28th
                                                            ___ day of September 2023.




                                             __________________________________________
                                             HONORABLE LISETTE M. REID
                                             UNITED STATES MAGISTRATE JUDGE



cc:     Nardia Haye, AUSA
